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Diamond Comics Distributors, Inc                                                                                                                                                                                               Case No. 25-10308
Cash Receipts/Disbursements                                                                                                                                                                                                               Mar-25



Division                                    AGD          AGD            AGD          CGA         CGA           DCD          DCD           DCD               DCD              DCD               DCD               DCD
Description                               JPM - US     JPM - US       JPM - US     JPM - US    JPM - US      JPM - US     JPM - US      JPM - US       JPM - Canada      JPM - Canada   Bank of Montreal    Bank of Montreal
Account Number                              3396         3719           0569         0871        0020          0555         6266          5979             9564             9566               025                859
Currency                                    USD          USD            USD          USD         USD           USD          USD           USD        CAD - (Converted)       USD        CAD - (Converted)         USD
Currency Conversation Rate Used              N/A          N/A            N/A          N/A         N/A           N/A          N/A           N/A           0.695468             N/A          0.695468               N/A

Cash Receipts/Disbursements                                                                                                                                                                                                         Total
Beginning Balance                        119,687           -           361            -        13,000        1,143            -        303,835           101,539           14,251           148,366             47,688            749,871

Receipts
   DIP Funding                          12,535,000     780,958        80,966       28,421          -         69,655       714,748     10,019,619             -                -                 -                  -             24,229,367
   Other Cash Receipts                       -             -             -            -            -            -             -         57,236               -                -                 -                  -               57,236
   Payments From Customers                84,322           -        12,594,649        -        191,938     10,776,051         -        344,211           232,092           18,839           180,873             9,897            24,432,872
Total Receipts                          12,619,322     780,958      12,675,615     28,421      191,938     10,845,706     714,748     10,421,065         232,092           18,839           180,873             9,897            48,719,474



Disbursements
   Paydown of DIP Facility                    -            -        (12,536,572)       -           -       (11,212,843)       -              -               -                -                 -                  -             (23,749,416)
   Vendor Payments (Checks)                   -        (780,958)          -        (28,421)        -             -        (714,748)          -            (1,744)             -                 -                  -              (1,525,871)
   Vendor Payments (ACH/Wire)           (12,098,168)       -              -            -       (44,992)          -            -        (6,953,253)       (34,594)             -                 -                  -             (19,131,006)
   Bank Fees                               (4,908)         -          (80,966)         -         (950)       (31,483)         -           (3,662)         (1,244)           (491)             (868)              (207)             (124,779)
   Interest Expense                           -            -              -            -           -             -            -         (214,619)            -                -                 -                  -               (214,619)
   Nsf Checks/Credit Card Chargebacks         -            -              -            -           -         (38,197)         -          (12,355)         (1,847)             -              (1,524)               -                (53,924)
   Intercompany Payments                      -            -              -            -           -             -            -         (137,808)            -                -                 -                  -               (137,808)
   Payroll And Health Benefits            (702,871)        -              -            -           -             -            -        (1,762,484)           -                -                 -                  -              (2,465,355)
   Professional Fees                          -            -              -            -           -             -            -        (1,566,219)           -                -                 -                  -              (1,566,219)
Total Disbursements                     (12,805,947)   (780,958)    (12,617,538)   (28,421)    (45,942)    (11,282,524)   (714,748)   (10,650,399)       (39,429)           (491)            (2,392)             (207)           (48,968,996)

Other
   Currency Conversion                       -             -             -            -            -            -            -             -              (572)               -               49                   -               (523)
   Transfers Between DCD Accounts         97,000           -             -            -        (112,000)    445,628          -          15,000          (270,628)             -            (125,184)           (49,816)              0
Ending Balances (Per Bank Statements)     30,062           -          58,438          0         46,996       9,953           0          89,501           23,003            32,599          201,712              7,562             499,826

Deposits In Transit                          -             -         465,362          -           -          16,811           -            -                -                 -                 -                  -               482,173
Outstanding Checks                           -         (183,869)         -            -           -             -         (206,948)        -                -                 -                 -                  -              (390,817)
TOTALS                                    30,062       (183,869)     523,800          0        46,996        26,764       (206,948)     89,501           23,003            32,599           201,712             7,562              591,181
